             Case 2:18-cv-00352-RSM Document 67 Filed 01/12/21 Page 1 of 2



                                                                  The Honorable Ricardo S. Martinez
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                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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 9   AMAZON.COM, INC., a Delaware
     corporation; and VERA BRADLEY DESIGNS,               No. 2:18-cv-00352-RSM
10   INC. an Indiana corporation,
                                                          ORDER GRANTING PLAINTIFFS’
11                         Plaintiffs,                    MOTION TO SEAL
12          v.
13   ZHEN WANG “JOHNNY” ZHANG, an                         NOTE ON MOTION CALENDAR:
     individual; FABBY GLOBAL TRADING, LLC                January 8, 2021
14   d/b/a/ “CALIBEAN COLLECTION,” a Texas
     limited liability corporation; and JOHN DOES
15   1–10,
16                         Defendants.
17

18
            This matter has come before the Court on Plaintiffs Amazon.com, Inc. (“Amazon”) and
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     Vera Bradley Designs, Inc.’s Unopposed Motion to Seal (the “Motion”). The Court has
20
     reviewed the Motion, the Second Declaration of Zana Bugaighis, the statements and document
21
     sought to be filed under seal, and the entire record herein, and the Court being otherwise
22
     sufficiently informed, HEREBY ORDERS THAT
23
            1.      Plaintiffs’ Motion is GRANTED.
24
            2.      The following documents shall be redacted and filed under seal:
25
                    a.     The designated portions of the Declaration of Zana Bugaighis; and
26
                    b.     The designated portions of Plaintiffs’ Motion for Judgment.
27
                                                                             Davis Wright Tremaine LLP
                                                                                      L A W O F FI CE S
     ORDER GRANTING PLAINTIFFS’                                                 920 Fifth Avenue, Suite 3300
                                                                                  Seattle, WA 98104-1610
     UNOPPOSED MOTION TO SEAL- 1                                           206.622.3150 main ꞏ 206.757.7700 fax
            Case 2:18-cv-00352-RSM Document 67 Filed 01/12/21 Page 2 of 2




 1          3.       The following documents shall be filed under seal in their entirety:

 2                   a.     Exhibit A to the Declaration of Zana Bugaighis (the Settlement

 3                          Agreement and Mutual Release of all Claims).

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 5          DATED this 12th day of January, 2020.

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                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
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     Presented by:
14
     DAVIS WRIGHT TREMAINE
15   Attorneys for Plaintiff Amazon.com, Inc. and Vera Bradley Designs, Inc.
16
     By s/ Zana Bugaighis _______________
17   Bonnie E. MacNaughton, WSBA #36110
     Zana Bugaighis, WSBA #43614
18   Sarah Cox, WSBA #46703
     920 Fifth Avenue, Suite 3300
19   Seattle, WA 98104-1610
     Tel: (206) 622-3150
20   Fax: (206) 757-7700
     Email: bonniemacnaughton@dwt.com
21           zanabugaighis@dwt.com
              sarahcox@dwt.com
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                                                                              Davis Wright Tremaine LLP
                                                                                       L A W O F FI CE S
     ORDER GRANTING PLAINTIFFS’                                                  920 Fifth Avenue, Suite 3300
                                                                                   Seattle, WA 98104-1610
     UNOPPOSED MOTION TO SEAL- 2                                            206.622.3150 main ꞏ 206.757.7700 fax
